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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS THOMAS G. BRUTON

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CHRISTOPHER C~ HICKSON MTG¥§TRKTE`JUDGE miami

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about Novernber 3, 2014, at Aurora, in the Northern District of lllinois, Eastern

Division, and elsewhere, the defendant(s) violated:

Code Section Offense Description
Title 21, United States Code, knowingly and intentionally possessing with
Section 841(a)(1) intent to distribute a controlled substance,

namely, a quantity of anabolic steroids, a
Schedule Ill controlled substance, in violation of
Title 21, United States Code, Section 841(a)(1).

This criminal complaint is based upon these facts:

_X_ Continued on the attached sheet. :f` d / Cj,/
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D/ANIEL NUGENT
ecial Agent

 

      
  

stigations (HSI)
Sworn to before me and signed in my presence

Date; Augusc 28, 2015

 

/ ll J)l¢dg:z’s signature

City and State: Chicago, lllinois JEFFREY T. GILBERT, U.S. Magistrate Judge
Prl`ntea' name and Tl`tle

 

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UNITED STATES DISTRICT COURT )
NORTHERN DISTRICT OF ILLINOIS §
AFFIDAVIT

I, DANIEL NUGENT, being duly sworn, state as follows:

l. I am a Special Agent with the United States Department of Homeland Security,
Homeland Security Investigations (“HSI”), and have been so employed for approximately six
years. Prior to my employment with HSI, l served as a United States Customs and Border
Protection Officer from approximately 2003 through 2008.

.2. l am currently assigned to the HSl O’Hare International Airport office and
conduct investigations relating to violations of federal narcotics laws, including Title 21, United
States Code, §§ 841, 843, 846 and 952, and federal money laundering offenses, including Title
18, United States Code, § l956(a)(2)(A). ln conducting these investigations, I have employed a
variety of investigative techniques and resources, including, but not limited to, physical
surveillance, the questioning of witnesses and informants, undercover operations, pen registers
and trap and trace devices, vehicle tracking devices, search warrants, and the use of court-
authorized interception of wire and electronic communications Through these investigations,
the use' of the above-described techniques, my training and experience, and conversations with
other law enforcement personnel, I have become familiar with methods drug traffickers use to
safeguard narcotics, to distribute narcotics, and to collect and launder narcotics-related proceeds.

3. This affidavit is submitted for the limited purpose of establishing probable cause
that Christopher C. HICKSON did knowingly and intentionally possess with intent to
distribute a controlled substance, namely, a quantity of anabolic steroids, a Schedule lll
controlled substance, in violation of Title 21, United States Code, Section 84l(a)(l). The

information in this affidavit is based on: my personal knowledge; a November 3, 2014, interview

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of HICKSON; a November 3, 2014, search of HlCKSON’s residence pursuant to a state search
warrant; a trash pull at the residence; interviews of witnesses; financial information received
pursuant to administrative subpoenas; emails obtained pursuant to federal search warrants for
email accounts used by HICKSON; information received from other law enforcement personnel;
my experience and training; and the experience of other law enforcement agents. Because this
affidavit is being submitted for the limited purpose of securing this criminal complaint, I have
not included every fact known to me about this investigation
FACTS ESTABLISHING PROBABLE CAUSE
A. Information from a Confidential Informant

l. Since approximately October 2014, the Drug Enforcement Adininistration
(“DEA”) and other law enforcement agents across the country have been conducting an
investigation into the illegal importation and distribution of anabolic steroids being smuggled
into the United States from other countries, including China, in violation of Title 21, United
States Code, Sections 841, 843, 846, and 952.1 During the investigation, investigators conducted
a controlled delivery of a parcel containing anabolic steroids that are Schedule lIl controlled
substances to an individual living in Northwest Indiana (“CI-l”). After CI-l was confronted
about the parcel, CI-l began cooperating with law enforcement and provided information
concerning a steroid smuggling and distribution conspiracy operating in multiple countries

around the world.2

 

1 Anabolic steroids are a family of compounds that includes testosterone and synthetic
compounds structurally related to testosterone. Anabolic steroids are Schedule`lll controlled
substances See, e. g. , http://www.deadiversion.usdoj . gov/pubs/brochures/steroids/ public/

2 Cl-l has no criminal history. The Cl-l’s information has proven reliable and credible,
and has been corroborated by independent investigation that thus far includes physical
surveillance conducted by law enforcement officers; a November 3, 2014, trash pull at
HICKSON’s home; a November 3, 2014, search executed at HICKS()N’s home; the review of

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2. On or about October 23, 2014, l received the following information from HSI and
DEA Indiana concerning CI-l’s cooperation Among other things CI-l admitted that he/she
obtained the raw materials used to manufacture steroids from a supplier living outside the United
States.3 Cl-l also reported that he/she, in turn, had made arrangements to deliver the raw
materials to an associate, Christopher HICKSON, in order to enable HICKSON to manufacture
anabolic steroids f`or distribution to others Specifically, after receiving a shipment of raw
materials in August 2014 Via the mail, CI-l admitted that he/she delivered the raw materials to
HICKSON’s home located in Aurora, Illinois, on August 31, 2014.4 According to CI-l, when
Cl-l went to HICKSON’s home on August 3l, 20l4, he/she saw a large steroid laboratory inside
that contained unknown powders, steroids, and shipping materials CI~l also reported that
HICKSON was in possession of a pill pressing machine Moreover, according to CI-l, after
he/she had brought bulk steroid powder to HICKSON in the past, HICKSON would use the pill
press to turn the powder into steroid pills Upon pressing the powder into steroid pills, CI-l
Would then collect the pills from HICKSON and distribute the pills to consumers

B. Customs and Border Protection Records

3. On or about October 23, 2014, l performed queries in a law enforcement database
concerning HICKSON. According to records maintained by United States Customs and Border
Protection (“CBP”), on or about October 18, 2013, CBP officers conducted a routine border

inspection of a parcel mailed from China to “Chris HICKSON” to the aforementioned residence

 

emails and text messages sent and received by HICKSON; and interviews of witnesses who have
assisted HICKSON in narcotics trafficking activities

3 Cl-l reported obtaining the following Schedule lll controlled substances from his/her
supplier: Tren Acetale, Testosterone Enanthate, Testosterone .Proprionate, Winstrol, Dianabol
(Methandrostenolone), and Testosterone Sustcmr)n.

4 As discussed below, after confirming that HICKSON lived at the residence, HSI
executed a state search warrant at that home on or about November 3, 2014.

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in Aurora, Illinois During the inspection and resulting border search of the parcel, CBP officers
locateda large quantity of an unknown white powder. CBP officers detained the shipment and
sent a sample of the unknown powder to the CBP forensic laboratory in Chicago. According to
laboratory reports, the unknown powder tested positive for Stanozolol, a steroid that is a
Schedule III controlled substance CBP officers seized approximately 436 grams of Stanozolol
powder from the parcel. Through my training and experience, I know that 436 grams of
Stanozolol powder generally represents a quantity of bulk steroid powder that is intended for use
in the manufacturing and distribution of Stanozolol.

4. lt is the common practice of CBP Officers to forward a “notice of removal” to the
intended recipient anytime a seizure of controlled substances is made from a mail parcel. It is
also the common practice of the CBP Fines, Penalties and Forfeiture Office to send a formal
notice to the importer within 60 days of the seizure that a seizure of property had occurred
According to CBP records, a seizure notice was sent to HICKSON in 2013.

l C. The Trash Pull at HICKSON’s Home

5. On or about October 23, 2014, law enforcement queried an Illinois Secretary of
State database and determined that HICKSON’s home address was the same address where the
parcel containing Stanozolol powder was mailed from China to “Chris Hickson.” Moreover, on
or about October 23, 2014, l conducted open source reporting queries and confirmed that
HICKSON was associated with the address where the parcel had been mailed

6. On or about November 3, 2014, l conducted surveillance at the same address and
observed a 2015 pickup truck registered to HICKSON parked in the driveway.

7. On or about November 3, 2014, l made arrangements with the trash collection

company responsible for trash removal from that address to have the trash collected from the

 

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address and presented to law enforcement for inspection Later that day, law enforcement agents
met with a garbage truck driver responsible for collection the address and arranged for a trash
pull. Agents subsequently saw the driver remove the contents of the trash can and two recycling
bins from the curb in front of the property and place the contents in an empty hopper that was
affixed/to the front of the garbage truck. Law enforcement maintained constant surveillance of
the garbage truck after it departed the address and traveled approximately two blocks away. At
that time, l removed six white trash bags from the hopper of the garbage truck. All six bags were
knotted shut and did not contain rips. The bags were thereafter opened and inspected

'8. During this trash pull, l inspected one bag that, based on my training and
experience contained numerous items consistent with steroid manufacturing, distribution and
use For example, in that bag, I located eight glass jars each containing a yellow, oil-like
substance Each jar was labeled with names that, based on my training and experience were
consistent with various brands of anabolic steroids that are Schedule lll controlled substances
ln the same bag, I also located a number of` syringes and needles that appeared to have a
yellowish colored liquid in them. Moreover, in the same bag, I also located numerous pieces of
paper that listed names, addresses brands of steroids, and quantities of steroids

.9. Additionally, in the same bag of trash, I located an empty express mail box
originating from China addressed to “Chris HICKSON” at the suspect address According to the
United States Postal Service website, this parcel had been delivered on or about October 30,

2014, and had been signed for by a “C HICKSON.”

 

 

 

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10. Furthermore, in the same bag of trash, l also located a piece of paper that
appeared to be an email sent to the email address “hickson963@safe-mail.net.”5 The email listed
a number of different anabolic steroids, many of which were Schedule III controlled substances
The same bag of trash also contained a bank statement addressed to HICKSON at the address

D. Western Union Records for HICKSON’s Overseas Wire Transfers

11. On or about October 29, 2014, pursuant to an administrative subpoena, I received
records from Western Union showing that HICKSON had wired approximately $22,760 to China
between approximately April 2013 and June 2014. According to documents produced by
Western Union, HICKSON listed his home address and home phone number on all of the wire
transfers The Western Uniori documents also reflect that HICKSON had wired an additional
$1,805 to different individuals located in Thailand, the Czech Republic, Cameroon, and Turkey.
Furthermore, according to the Western Union documents HICKSON had also collected
approximately $4,965 since May 2014 from at least 15 different individuals located across the
United States and Canada.

E. The Search of HICKSON’s Home and Recoverv of Anabolic Steroids

12. On or about November 3, 2014, law enforcement officers received a state search
warrant from the Circuit Court of Kane County, lllinois, authorizing the search of HICKSON’s
residence in Aurora. Later that day, law enforcement executed the search warrant Before
breaching the front door of the home, agents knocked and announced their office Through the

glass door, l observed an individual, later identified as HICKSON, run away from the front door

 

5 Safe-Mail is an Israeli-based encrypted email service provider that bills itself
as “a highly secure communication storage, sharing and distribution system for the Internet...
[that] provides email, instant messaging, data distribution data storage and file sharing tools in a
suite of applications that enable businesses and individuals to communicate and store data with
privacy and confidence.” See, e.g., http://www.forbes.com/sites/runasandvik/2014/01/31/the-
email-service-the-dark-web-is-actually-using/

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and attempt to evade law enforcement Law enforcement breached the front door and made
entry into the home According to officers stationed on the side of the home, HICKSON had
attempted to exit the residence through the side door, but was detained.

13. The search of the residence resulted in the recovery and seizure of a large
electronic pill press weighing over 200 lbs, over 1,000 vials of suspected steroids hundreds of
suspected steroid pills and capsules approximately $4,841 in cash, shipping boxes, shipping
labels empty glass vials, empty capsules and over 10 kilograms of suspected bulk anabolic
steroid powder. Law enforcement also recovered a number of United States Postal Service
shipping boxes filled with vials labeled as anabolic steroids that, based on their names, appeared
to be Schedule III controlled substances The mail parcels were addressed to individuals located
throughout the United States.

14. On or about November 6, 2014, 1 submitted for laboratory testing a sample of
approximately 1008.16 grams of a powdery substance that was seized from HICKSON’s home
The CBP laboratory subsequently confirmed that the substance had tested positive for an
anabolic steroid, Testosterone Enanthate, a Schedule 111 controlled substance

15. On or about November 6, 2014, l submitted for laboratory testing a sample of
approximately 1015.81 grams of a powdery brick-like substance that was seized from
HICKSON’s home The CBP laboratory subsequently confirmed that the substance had tested
positive for an anabolic steroid, Nandrolone Decanoaz‘e, a Schedule III controlled substance

16. On or about November 6, 2014, l submitted for laboratory testing a sample of
approximately 512.86 grams of a white powder that was seized from HICKON’s home The
CBP laboratory subsequently confirmed that the substance had tested positive for an anabolic

steroid, Nandrolone Phenylpropionate, a Schedule IlI controlled substance

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17. On or about November 6, 2014, 1 submitted for laboratory testing a sample of
approximately 1016.35 grams of a white powdery substance that was seized from HICKSON’s
home The CBP laboratory subsequently confirmed that the substance had tested positive for an
anabolic steroid, Testosterone 1 7b Cypionate, a Schedule 111 controlled substance

F. HICKSON Admits to Importing, Manufacturing, and Distributing
Anabolic Steroids

'18. On or about November 3, 2014, 1 interviewed HICKSON at his home after he
received and waived his Mimnda rights orally and in Writing. During the interview, HICKSON
admitted to the following, among other things HICKSON admitted that he had been importing,
manufacturing and distributing anabolic steroids for approximately 15 months HICKSON
admitted that he had collected approximately $100,000 as payment for the steroids that he sold.
HICKSON stated that he knew what he was doing was illegal. HICKSON also acknowledged
that all of the steroids in the home belonged to him, and he estimated he had approximately
$60,000 worth of steroids inside the home HICKSON further stated that he had utilized the
United'States Postal Service to ship steroids throughout the United States. HICKSON also
admitted that he had wired thousands of dollars overseas to China to pay for the bulk steroid
powder that he was smuggling into the United States from China. HICKSON acknowledged that
he was manufacturing and labeling anabolic steroids under his own brand names, including
“True babs,” “Rift Labs,” and “PureGear Labs.”

G. HICKSON’s Use of Email Accounts to Purchase and Distribute Bulk
Steroid Powder

19. Additionally, during his interview, HICKSON admitted that he had utilized a
specific AOL email address in furtherance of his drug trafficking activities HICKSON stated

that he had utilized this account to correspond with overseas suppliers of bulk steroid powders,

 

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as well as to distribute steroids to numerous individuals located throughout the United States.
1 subsequently sought and obtained a federal search warrant for HICKSON’s AOL account

20. During the search of HICKSON’s residence law enforcement officers also
located a Western Union receipt showing that HICKSON had wired approximately $2,050 to an
individual located in Wuhan City, China. The receipt indicated that HICKSON gave a Gmail
email address to Western Union in the “your information” block of` the Western Union wire slip.

21. During his interview, HICKSON provided me with written consent to search his
laptop computer, Which was observed inside the home when the search warrant was executed,
and which was turned on with the screen visible While briefly searching the contents of the
laptop, 1 located an opened internet tab on the desktop. The tab was opened to the inbox of the
same Gmail account as the one listed on the Western Union receipt During a brief search of this
account, 1 saw a number of emails that were both sent from HICKSON, and received by
HICKSON. These emails pertained to the sale and distribution of anabolic steroids and in some
instances the recipients and/or senders were utilizing Safe-Mail to communicate with
HICKSON.6 1 subsequently obtained a federal search warrant for HICKSON’s Gmail account

H. Interviews of HICKSON’s Co-Conspirators

_22. During his interview, HICKSON also provided me with written consent to search
his cell phone and text messages 1 subsequently searched the text messages and determined that
HICKSON had been texting several associates to discuss the manufacture and distribution of
anabolic steroids After using open source reporting to determine the identities of the associates

that HICKSON had been texting, 1 conducted interviews of those associates

 

6 As described above, during the November 3, 2014, trash pull, 1 recovered a piece of
paper that appeared to be an email sent to the email address “hickson963@safe-mail.net.”

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.23. On or about December 10, 2014, 1 interviewed Individual A, one of the associates
that HICKSON had texted to discuss the manufacturing and distribution of anabolic steroids
Individual A stated that he/ she had known HICKSON for a number of years Individual A stated
that he/she had been to HICKSON’s residence on numerous occasions Individual A stated that
he/she had observed large quantities of steroids throughout HICKSON’s residence in the past.
Individual A stated that HICKSON kept steroids in his bedroom, in a lab room in the upstairs
area of the residence in the kitc.hen, and in his vehicle Individual A stated that he/she also had
observed a pill press in HICKSON’s home Individual A estimated that HICKSON made
between $80,000 and $90,000 per year selling steroids At one point, according to Individual A,
HlCKSON told Individual A that he wanted to keep selling steroids until he had enough money
to retire Individual A also admitted to assisting HICKSON in filling empty capsules with
steroid powder, in exchange for payment Individual further stated that HICKSON called
him/her the night that the above-described search warrant was executed at HICKSON’s home
and requested Individual A to liquidate a bank account, which Individual A said contained
approximately $5,000. According to Individual A, HICKSON was concerned that the police
were going to seize the money from his checking and savings accounts Individual A said that
he/she refused to assist HICKSON in this manner. According to Individual A, HICKSON later
said that HICKSON’s mother had withdrawn all the money and “taken care of it.”

24. On or about December 11, 2014, 1 interviewed Individual B, another associate
that HICKSON had texted to discuss the manufacturing and distribution of anabolic steroids
Individual B stated that he/she had purchased steroids from HICKSON in the past, and that
HICKSON was a known distributor of steroids Individual B stated that approximately two or

three months earlier, HICKSON offered Individual B the opportunity to make S20 per hour.

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Individual B claimed to not know what the work entailed, but agreed to do it. Individual B
reported that he/she thereafter went to HICKSON’s home in Aurora, the location where the
above-described search warrant was executed At that time according to Individual B,
HICKSON had Individual B sit in HICKSON’s dining room and provided Individual B with a
number of plastic containers containing different powders as well as a number of empty
capsules HICKSON instructed Individual B to fill the capsules with powder and then place the
filled capsules in a green pill bottle Individual B acknowledged that he/s'he knew that he/she
was filling the capsules with steroid powder. Individual B further reported that, on a second
occasion when Individual B was filling capsules for HICKSON, H1CKSON instructed Individual
B to wire approximately $2,500 of HICKSON’s money to China, in exchange for a fee
HICKSON also told Individual B that the money was to be used to invest in shoes After
yIndividual B wired out the money for HICKSON, Individual A said HICKSON immediately
acknowledged that the money was payment for “making steroids” According to Individual B,
HICKSON told Individual B that HICKSON was banned from wiring any money from the
United States.

'25. On or about December ll, 2014, 1 interviewed Individual C, another associate
that HICKSON had texted to discuss the manufacturing and distribution of anabolic steroids
Individual C was at the time of the interview legally an adult, but was still a high school student
Individual C reported that he/she met HICKSON approximately two years before at a gym in
Aurorai Individual C described HICKSON as a “personal friend” and “personal trainer.”
Individual C stated that approximately two months earlier, HICKSON approached him/her and
asked if he/she would be willing to help HICKSON fill capsules with powder. Individual C

agreed to help fill the capsules and in exchange HICKSON agreed to give him/her personal

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training sessions Individual C stated that he/she then filled capsules on three separate occasions
at HICKSON’s home in Aurora during a one-week time period Each time Individual C
approximated that he/she spent about four hours per day filling capsules in HICKSON’s dining
room. Individual C estimated that he/she filled approximately 100 capsules during a four hour
period Individual C stated that on one occasion, Individual B was also present at HICKSON’s
residence and Was also filling capsules Individual C stated that he/she thought that he/she was
filling the capsules with pre-Workout supplements However, Individual C recalled that while
filling capsules he/she observed two large plastic bags containing large quantities of glass vials
labeled as testosterone, Which Individual C knew was an anabolic steroid Individual C also
stated that HICKSON had asked him/her to wire money on HICKSON’s behalf, but Individual C
refused because it “sounded weird.” Individual C further admitted that he/she accompanied
HICKSON in HICKSON’s vehicle on two separate occasions when HICKSON had sold steroids
to customers Individual C stated that HICKSON had also asked Individual C to find customers
who would be willing to purchase steroids from HICKSON.

.26. On or about December 19, 2014, 1 interviewed Individual D, another associate
that HICKSON had texted to discuss the manufacturing and distribution of anabolic steroids
According to Individual D, during the summer of 2014, a mutual friend approached him/her and
inquired about purchasing steroids Knowing that HICKSON was a known steroid distributor,
Individual D stated that he/she then acted as a “middleman” between the mutual friend and
HICKSON. Individual D stated that others thereafter began to ask Individual D about
purchasing steroids from HICKSON. Individual D admitted to directing people to HICKSON so
that they could purchase steroids Individual D admitted that, as time went on, he/she became

more engaged in the steroid distribution conspiracy with HICKSON. Among other things

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Individual D stated that he/she began to coordinate for HICKSON shipments to people located
throughout the United States Individual D stated that he/she would inform potential customers
as to what types of steroids HICKSON had on hand, and once a customer knew what they
wanted, Individual D would put them in direct contact with HICKSON. The customers would
then transfer funds directly to HICKSON, and HICKSON would send the steroids to them.
Individual D admitted to being a “middleman"' for approximately ten shipments of steroids sent
by HICKSON during a four or five month period Individual D also admitted that HICKSON
asked Individual D on a number of occasions if Individual D would be willing to go to Western
Union to pick up and send money for HICKSON. Individual D recounted that, on one occasion
HICKSON also offered to purchase Individual D a fake identification document so that
Individual D would not have to use Individual D’s true identity to conduct illicit financial
transactions Individual D said that he/she refused HICKSON’s of`fer.
CONCLUSION
27. Based on the foregoing, 1 respectfully submit that there is probable cause to
believe that Christopher C. HICKSON committed the crime charged in the criminal complaint

FURTHER AFFIANT SAYETH NOT.

janiel B. 1\1ugerit
Special Agent ,
Homeland Security 1nvestigations

    
 
 
  
 

Subscribed and sworn
is 28th day of Au

  
 

 

 

norable Je
nited States

Yy'T. `Gilbert

agistrate Judge

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